Case 15-23639-GLT           Doc 187      Filed 12/05/17 Entered 12/05/17 17:02:33             Desc Main
                                        Document      Page 1 of 2


                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE:                                             : Bankruptcy No. 15-23639-GLT
                                                   :
EDWARD J. ROCHE                                    : Chapter 7
KATHLEEN J. ROCHE                                  :
                            Debtor                 : Related to Doc. No. 181
                                                   :
  U.S. Bank Trust National Association, as         :
  Trustee of Bungalow Series F Trust               :
                                                   :
          Movant                                   :
                                                   :
     v.                                            :
                                                   :
   Edward J. Roche,                                :
   Kathleen J. Roche                               :
                                                   :
          Debtor(s)                                :
                                                   :
   Natalie Lutz Cardiello, Esquire                 :
                                                   :
           Respondent(s)                           :


                                           Trustee’s Response to
                 Motion of U.S. Bank Trust National Association, as Trustee of Bungalow
                Series F Trust For Relief from the Automatic Stay under 11 U.S.C. §362(d)
                    with Respect to Property: 5632 Fairfield Drive, Gibsonia, PA 15044

         AND NOW comes Natalie Lutz Cardiello, Trustee, by and through her attorney, Natalie Lutz
Cardiello, Esquire, and files the Motion of U.S. Bank Trust National Association, as Trustee of Bungalow
Series F Trust For Relief from the Automatic Stay under 11 U.S.C. §362(d) with Respect to Property: 5632
Fairfield Drive, Gibsonia, PA 15044 (the “Motion”) filed in the above matter.

       1. The Debtor filed a Voluntary Petition under Chapter 13 of the Bankruptcy Code on October 2,
2015, which case was converted to a case under Chapter 7 on March 18, 2016.

          2. Natalie Lutz Cardiello was duly appointed Trustee and has been so serving.

       3. The Motion was filed in connection with the Debtor’s property located at 5632 Fairfield Drive,
Gibsonia, PA 15044 (the “Property”).

        4. The Trustee has recently been working with BK Global in an effort to negotiate carve out
arrangements with lenders for the benefit of the Bankruptcy Estate. Although the Trustee previously filed a
Report of No Distribution, she now believes that the Property can be sold to benefit the estate and its
creditors.
Case 15-23639-GLT          Doc 187     Filed 12/05/17 Entered 12/05/17 17:02:33               Desc Main
                                      Document      Page 2 of 2


        5. The Trustee does not object to the relief requested by Movant, but requests a reasonable period
of time of six months to market and sell the Property.

        WHEREFORE, the Trustee requests that this Honorable Court enter an Order granting the U.S.
Bank Trust National Association, as Trustee of Bungalow Series F Trust For Relief from the Automatic Stay
under 11 U.S.C. §362(d) with Respect to Property: 5632 Fairfield Drive, Gibsonia, PA 15044, effective as of
June 30, 2018.


 Dated: December 5, 2017                                          Respectfully submitted,


                                                                  /s/ Natalie Lutz Cardiello
                                                                  Natalie Lutz Cardiello, Esquire
                                                                  PA ID# 51296
                                                                  107 Huron Drive
                                                                  Carnegie, PA 15106
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